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15                         UNITED STATES DISTRICT COURT
16           CENTRAL DISTRICT OF CALIFORNIA - EASTERN DIVISION
17     JOHN NAZARIAN, an individual,          CASE NO.: 5:20-cv-01392-CBM-SHK
       and MARY NAZARIAN, an
18     individual,
19                        Plaintiffs,         ORDER DISMISSING ACTION
                                              WITH PREJUDICE [JS-6]
20     vs.
                                              [Joint Stipulation to Dismiss Action
21     SCOTTSDALE INSURANCE CO.,              With Prejudice Filed Concurrently
       an Ohio corporation,                   Herewith]
22
                         Defendant.
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25           GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that,

26    pursuant to the confidential settlement agreement reached between Plaintiffs John

27    Nazarian and Mary Nazarian (“Plaintiffs”) and Defendant Scottsdale Insurance

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 1    Company (“Defendant”), the above-referenced action is hereby dismissed in its
 2    entirety with prejudice. Each party shall bear its own costs and fees.
 3          IT IS SO ORDERED.
 4
 5    Dated: JANUARY 11, 2021         _______________________________
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                                      HON. CONSUELO B. MARSHALL
                                       United States District Judge
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